               Case 3:18-cr-03070-JLS Document 12 Filed 07/12/18 PageID.34 Page 1 of 1


                                                 UNITED STATES DISTRICT COURT
                                                SOUTHERN DISTRICT OF CALIFORNIA


          UNITED STATES OF AMERICA                        )
                                                          )
                                     vs                   )               ABSTRACT OF ORDER
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                                                          )               Booking No.      1 _ --1 U ~· 0
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 TO THE UNITED STATES MARSHAL AND I OR WARDEN, METROPOLITAN CORRECTIONAL CENTER:
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       Be advised that under date of                · ·- , u --     ,
 the Court entered the following order:




 ----~--                            Defendant be released from custody.

 - - - - - - - Defendant placed on supervised I unsupervised probation I supervised release.

 - - - - - - - Defendant continued on supervised I unsupervised probation I supervised release.


 - - - - " ' ' - - - - Defendant released on $                ~v~")~l~)--+-Q~C~{_J_·\~>_I_~-~-------- bond posted.
 - - - - - - - Defendant appeared in Court. FINGERPRINT & RELEASE.
 - - - - - - - Defendant remanded and ( _ _ _ _ bond) ( _ _ _ _ bond on appeal) exonerated.

 - - - - - - - Defendant sentenced to TIME SERVED, supervised release for                                      years.

 - - - - - - - Bench Warrant Recalled.
 - - - - - - - Defendant forfeited collateral.

 - - - - - - - C a s e dismissed.

 - - - - - - - C a s e dismissed, charges pending in case n o . - - - - - - - - - - - - - - - -
 - - - - - - - Defendant to be released to Pretrial Services for electronic monitoring.

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                                                                                                       JAN M.ADLER
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                                                                           UNITED STATES DISTRICT/MAGISTRATE JUDGE
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 Crim-9    (Rev. 8·11)                                                                                             * U.S. GPO: 1996·783-398/40151
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